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                                 OFFICE OF THE CIRCUIT MEDIATOR
                                     UNITED STATES COURT OF APPEALS
                                         FOR THE FOURTH CIRCUIT


             EDWARD G. SMITH              JEROME (JERRY) WOODS, II                  ROBIN R. TIDWELL
             CHIEF CIRCUIT MEDIATOR                                                    CIRCUIT MEDIATOR
        N. MYRTLE BEACH, SOUTH CAROLINA         CIRCUIT MEDIATOR                  LEXINGTON, SOUTH CAROLINA
                                              ELKRIDGE, MARYLAND
                                                   (410) 540-4955
                                            Jerry_Woods@ca4.uscourts.gov


                                              January 21, 2025

                        Re: 24-2196, Malcolm Shields v. City of Winston-Salem

                               NOTICE OF SCHEDULED MEDIATION
                               & PROPOSED BRIEFING EXTENSION
                                       AUDIO ZOOM LINK

        Dear Counsel:

        A mediation conference has been scheduled in this case pursuant to Local Rule 33,
        attached for your reference. The conference will be conducted via an audio-only
        Zoom call using the provided link on February 14, 2025 at 10:00 a.m.
        EASTERN. You must provide our office with a direct telephone number for
        everyone participating in case of technical difficulties.

                   The electronic recording of conferences is strictly prohibited.

               This is an official proceeding of the Court. The counsel listed below are
        considered to be the primary lawyers responsible for this case and must participate.
        If any of the counsel listed below do not need to participate, or if additional or
        different counsel is necessary or beneficial for this conference, or if this date
        presents an unavoidable conflict with a previously scheduled court appearance,
        please immediately contact OCM Program Administrator, Wendy Fish at
        Wendy_Fish@ca4.uscourts.gov, or you may call 804-916-2119.

               The conference serves several purposes: firstly, to address and resolve any
        procedural issues in the case to prevent unnecessary motions or delays; secondly,
        to identify and clarify the main issues raised in the appeal; and thirdly, to explore
        any potential opportunities for settlement. All counsel is expected to engage in
        discussions with their clients regarding settlement and attend the conference with
        the authority to propose and respond to settlement offers.
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              For more detailed information on the mediation process of the Fourth
        Circuit, please click here.

               The appellant's brief and appendix for this appeal are due within a few days
        of the scheduled mediation conference. In order to benefit all counsel and parties
        involved, the undersigned Circuit Mediator proposes extending the deadline for the
        appellant's brief and appendix to March 12, 2025. Similarly, the due date for the
        response brief will also be extended.

              If any counsel objects to this proposed extension of the briefing schedule,
        please inform this office and opposing counsel by 10:00 a.m. on January 28,
        2025.

              If you have questions, please contact the undersigned Circuit Mediator.

                                                                                  Sincerely,

                                                                   Jerome (Jerry) Woods, II
                                                                           Circuit Mediator

        Copies: James Elliott Field
                Anargiros Nick Kontos
                James R. Morgan Jr.
                Lori Paige Sykes
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        Rule 33. Appeal Conferences

               The court may direct the attorneys - and, when appropriate, the parties - to
        participate in one or more conferences to address any matter that may aid in
        disposing of the proceedings, including simplifying the issues and discussing
        settlement. A judge or other person designated by the court may preside over the
        conference, which may be conducted in person or by telephone. Before a
        settlement conference, the attorneys must consult with their clients and obtain as
        much authority as feasible to settle the case. The court may, as a result of the
        conference, enter an order controlling the course of the proceedings or
        implementing any settlement agreement.

        Local Rule 33. Circuit Mediation Conferences
        All civil and agency cases in which all parties are represented by counsel on
        appeal will be reviewed by a circuit mediator after the filing of the docketing
        statements required by Local Rule 3(b). The circuit mediator will determine
        whether a mediation conference may assist either the Court or the parties. Counsel
        for a party may also request a conference if counsel believes it will be of assistance
        to the Court or the parties. Counsel's participation is required at any scheduled
        conference. Mediation conferences will generally be conducted by telephone but
        may be conducted in person in the discretion of a circuit mediator. Mediation
        conferences may be adjourned from time to time by a circuit mediator. Purposes of
        the mediation conference include:

           a. Jurisdictional review;
           b. Simplification, clarification, and reduction of issues;
           c. Discussion of settlement; and
           d. Consideration of any other matter relating to the efficient management and
              disposition of the appeal.

        Although the time allowed for filing of briefs is not automatically tolled by
        proceedings under this local rule, if the parties wish to pursue, or are engaged in,
        settlement discussions, counsel for any party may move to extend the briefing
        schedule. The mediator, through the Clerk of the Court, may enter orders which
        control the course of proceedings and, upon agreement of the parties, dispose of
        the case.

        Statements and comments made during all mediation conferences, and papers or
        electronic information generated during the process, are not included in Court
        files except to the extent disclosed by orders entered under this local rule.
        Information disclosed in the mediation process shall be kept confidential and shall
        not be disclosed to the judges deciding the appeal or to any other person outside
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        the mediation program participants. Confidentiality is required of all participants
        in the mediation proceedings. All statements, documents, and discussions in such
        proceedings shall be kept confidential. The mediator, attorneys, and other
        participants in the mediation shall not disclose such statements, documents, or
        discussions without prior approval of the Standing Panel on Attorney Discipline.
        Any alleged violations of this rule shall be referred to the Court's Standing Panel
        on Attorney Discipline for a determination pursuant to Local Rule 46(g) of
        whether imposition of discipline is warranted. All proceedings before the Standing
        Panel on Attorney Discipline involving confidential information under this
        procedure shall be confidential.

        Local Rule 33 adopted June 8, 1994; amended December 1, 1995, March 4, 1998,
        and December 11, 2001.
